Case 4:03-cr-00159-MAC-DDB           Document 293        Filed 07/20/07      Page 1 of 2 PageID #:
                                            145




  UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 versus                                          §    CASE NO. 4:03-CR-159
                                                 §
 PATRICK WADE SCHNITKER                          §

  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

          Came on for consideration the above-referenced criminal action, this court having

 heretofore referred the request for revocation of Defendant’s supervised release to the United

 States Magistrate Judge for proper consideration. The court has received the report of the United

 States Magistrate Judge pursuant to its order. On April 28, 2007, Defendant filed an objection

 arguing that two years imprisonment exceeds the statutory maximum allowed by statute for his

 original offense. Defendant asserts that adding his time served plus the period of supervised

 release exceeds the five-year statutory maximum for his original conviction for fraudulent use of

 access device.

          The court, having made a de novo review of the objection raised by Defendant, is of the

 opinion that the objection is without merit. Defendant’s argument is misplaced. Title 18 of

 United States Code, Section 3583(e)(3) provides that for a class D felony, the sentence upon

 revocation of supervised release may be up to two years imprisonment. The federal criminal

 statutory scheme envisions that there can be at least two components of a sentence: 1) a term of

 imprisonment up to the statutory maximum permitted by statute, and 2) a term of supervised

 release delineated in § 3583(e) with the potential for additional prison time if supervised release

 is violated. United States v. Hinson, 429 F.3d 114, 115-16 (5th Cir. 2005). To adopt Defendant’s

 argument undermines the statutory sentencing scheme.
Case 4:03-cr-00159-MAC-DDB            Document 293        Filed 07/20/07     Page 2 of 2 PageID #:
                                             146



         Based on the foregoing, the court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct. Therefore, the court hereby adopts the findings and conclusions of

 the Magistrate Judge as the findings and conclusions of the court. It is, therefore,

         ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion of the court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is finally

         ORDERED that Defendant is sentenced to a term of imprisonment for twenty-four (24)

 months,. with no supervised release to follow.
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 20th day of July, 2007.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE




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